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lN iHE UNITED STAIES DISTRICT COURLiE

FOR THE WESTERN DISTRICT oF TENNE§§F¢EA\{ ..;)_ 9 l 2 09

 

WESTERN DIVISION
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UNITED STATES OF Al\/IERlCA, " l
Plaintiff,
vs. Cr. No. 04-20309-D
ROBERT LORD,
Defendant.

 

ORDER

 

CONSIDERING THE Unopposed Motion to Arnend Conditions of Pre-trial, it is hereby
Ordered, Adjudged and Decreed that

rl`he conditions ol` pretrial release in the above captioned matter are hereby modified to allow
l)efendant to travel to the following locations for the purpose of employment

Westpoint, MS,
Tupelo, MS,
OSceola, AR,
Hot Springs, AR,
.lonesboro, AR,
Searcy, AR,
Truman, AR.

.`~l.‘-`*\.‘"P.W!\J!_‘

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UNlTED STATES JUDGE

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Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103

FPD

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

